                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CIVIL ACTION NO. 5:13-CR-057-RLV-DCK

UNITED STATES OF AMERICA,                              )
                                                       )
               Plaintiff,                              )
                                                       )
   v.                                                  )         ORDER
                                                       )
GAUTAM SAVLA,                                          )
                                                       )
               Defendant.                              )
                                                       )

        THIS MATTER IS BEFORE THE COURT on “Defendant’s Adoption By Reference

Of Motion For A Daubert Hearing Filed By Defendant Sonia Thaker” (Document No. 41) filed

August 27, 2013. This motion has been referred to the undersigned Magistrate Judge pursuant to

28 U.S.C. § 636(b), and immediate review is appropriate. Having carefully considered the

motion, the record, and applicable authority, the undersigned will grant the motion.

        IT IS, THEREFORE, ORDERED that “Defendant’s Adoption By Reference Of

Motion For A Daubert Hearing Filed By Defendant Sonia Thaker” (Document No. 41) is

GRANTED.

                                               Signed: August 28, 2013




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